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 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ANDREW COLEMAN,                                      No. 2:24-cv-0575 TLN DB P
12                        Plaintiff,
13            v.                                           ORDER FOR PAYMENT OF INMATE
                                                           FILING FEE
14    ALEXANDER GOFF, et al.,
15                        Defendants.
16

17   To: The Sheriff of Sacramento County, Attention: Inmate Trust Account, 651 I Street,

18   Sacramento, California 95814:

19           Plaintiff, a county jail inmate proceeding in forma pauperis, is obligated to pay the

20   statutory filing fee of $350.00 for this action. Plaintiff is assessed an initial partial filing fee of

21   twenty percent (20%) of the greater of (a) the average monthly deposits to plaintiff’s trust

22   account; or (b) the average monthly balance in plaintiff’s account for the 6-month period

23   immediately preceding the filing of this action. 28 U.S.C. § 1915(b)(1). Upon payment of that

24   initial partial filing fee, plaintiff will be obligated to make monthly payments in the amount of

25   twenty percent (20%) of the preceding month’s income credited to plaintiff’s trust account. The

26   Sacramento County Sheriff is required to send to the Clerk of the Court the initial partial filing

27   fee and thereafter payments from plaintiff’s inmate trust account each time the amount in the

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      Case 2:24-cv-00575-TLN-DB Document 12 Filed 06/14/24 Page 2 of 2


 1   account exceeds $10.00, until the statutory filing fee of $350.00 is paid in full. 28 U.S.C.

 2   §1915(b)(2).

 3             Good cause appearing therefore, IT IS HEREBY ORDERED that:

 4             1. The Sheriff of Sacramento County or a designee shall collect from plaintiff’s inmate

 5   trust account an initial partial filing fee in accordance with the provisions of 28 U.S.C.

 6   §1915(b)(1) as set forth in this order and shall forward the amount to the Clerk of the Court. The

 7   payment shall be clearly identified by the name and number assigned to this action.

 8             2. Thereafter, the Sheriff of Sacramento County or a designee shall collect from

 9   plaintiff’s inmate trust account monthly payments in an amount equal to twenty percent (20%) of

10   the preceding month’s income credited to the inmate’s trust account and forward payments to the

11   Clerk of the Court each time the amount in the account exceeds $10.00 in accordance with 28

12   U.S.C. § 1915(b)(2), until the $350.00 filing fee for this action has been paid in full. The

13   payments shall be clearly identified by the name and number assigned to this action.

14             3. The Clerk of the Court is directed to serve a copy of this order and a copy of plaintiff’s

15   signed in forma pauperis affidavit on the Sheriff of Sacramento County, Attention: Inmate Trust

16   Account, 651 I Street, Sacramento, California 95814.

17             4. The Clerk of the Court is directed to serve a copy of this order on the Financial

18   Department of the court.

19   Dated: June 14, 2024

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27   DLB:9
     DB prisoner inbox/civil rights/S/cole0575.cdc.sacramento
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